                        IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                   Plaintiff,                      )
                                                   )      Criminal Action No.
           v.                                      )      10-00244-01-CR-W-DW
                                                   )
EDWARD BAGLEY, SR.,                                )
                                                   )
                   Defendant.                      )

                                REPORT AND RECOMMENDATION

I.     BACKGROUND

       Before the court are defendant’s motions for authorization of funds to retain an expert

witness. In his first motion (document number 226)1 defendant states in part:

       In his report, which he purportedly based on numerous items of discovery provided to him
       by the government, Dr. Dietz concludes:

                “The evidence that Ed Bagley is a sexual sadist is overwhelming and beyond
                dispute. Bagley’s willingness to indulge his sexual appetite to the detriment of
                others is accounted for primarily by his personality. . . . Although no information
                was received regarding Bagley’s conduct prior to age 15, he certainly demonstrates
                the pervasive pattern of disregard for and violation of the rights of others in
                adulthood characteristic of antisocial personality disorder. . . . Bagley may also be
                fairly characterized as a psychopath. . . .” See Report of Dr. Park Dietz, p. 108.

       Dr. Dietz’[s] “diagnosis” of Mr. Bagley is troubling, not only because of the prejudicial
       conclusions with which he has labeled Mr. Bagley, but also because Dr. Dietz arrived at
       his “diagnosis” without the benefit of an interview with the Defendant or the results of
       any standardized psychological tests or personality assessments. In order to determine
       whether Dr. Dietz’[s] conclusions contain any degree of reliability, it is necessary for the
       defense to obtain its own independent psychological evaluation of Mr. Bagley.

       In his amended motion (document number 229), defendant states that, “In order to

determine whether Dr. Dietz’[s] conclusions contain any degree of reliability, it is necessary

for the defense to obtain its own evaluation of Dr. Dietz’[s] report.”

       1
        Defendant’s motion is entitled Motion of Defendant Edward Bagley, Sr. for Authorization
of Funds to Retain Expert Witness; however, it was docketed as a “Motion for Psychiatric exam of
Defendant Edward Bagley, Sr.”

                                                  1


       Case 4:10-cr-00244-DGK           Document 256        Filed 12/27/11     Page 1 of 18
       Finally, in his second amended motion (document number 253), defendant states:

              Defendant originally filed his Motion For Authorization of Funds asking that the
       court authorize the retention of Dr. Steven Peterson to review the report of the
       government’s expert, Dr. Park Dietz. In that motion, Defendant stated that Dr. Peterson
       would perform a psychiatric evaluation of Defendant.

               Defendant subsequently filed his Amended Motion for Authorization of Funds, with
       the intention of indicating to the court that Dr. Peterson would not do an evaluation of the
       Defendant, but would limit his opinion to the reliability of Dr. Dietz’[s] characterization of
       the Defendant as a psychopath and having antisocial personality disorder and the
       methodology relied upon in forming such an opinion, given the fact that Dr. Dietz’[s]
       “diagnosis” of the Defendant was based solely on discovery provided to him by the
       government . . . .

                It is counsel’s belief that Dr. Peterson will require 30 to 40 hours to review the
       evidence provided to Dr. Dietz, evaluate the methodology and reliability of his conclusions
       with regard to the Defendant’s psychiatric state, and prepare his own report. It is
       estimated that if called as a witness at a hearing on a motion to exclude evidence or at
       trial, his testimony would take 2 to 3 hours, depending on length of cross-examination.

       In its response (document number 230), the government states that:

              The government provided preliminary notice that Dr. Dietz would testify as a
       criminal forensic psychiatrist and would “testify to the area of grooming/seduction of a
       victim” and “the differences in BDSM versus criminal sadism.”

       The government points out that defendant has not filed a notice of intent to rely on a

mental disease or defect on the issue of guilt or of punishment.

       The questions put to Dr. Dietz by the government consist of the following:

       1.     What is the medical understanding of the unusual sexual behaviors documented in
              the evidence in this case?

       2.     Does the evidence explain how the defendants were able to treat the victim as they
              did for so long without her calling the police, seeking help, or escaping the
              situation?

       3.     Do the facts of this case comport with the BDSM subculture?

The government’s response goes on:

                The key contested issues which the jury will be required to make a finding of fact
       on at trial are: (a) if the sexual acts were commercial; and (b) if they were coerced. Dr.
       Dietz’s report does not speak to these ultimate issues and he will not do so in the course of
       his testimony. Dr. Dietz does not speak to the defendants’s [sic] “mental state or condition
       constituting an element of the crime charged,” as prohibited by Fed. R. Ev. 704(b). If Dr.
       Dietz were to include in his report or testimony that Defendant Bagley had the requisite

                                                 2


       Case 4:10-cr-00244-DGK          Document 256        Filed 12/27/11     Page 2 of 18
       mens rea of the offense charged and thereby knowingly recruited, enticed, harbored,
       transported, the victim and knew that she would be caused to engage in commercial sex
       acts, his testimony would be prohibited by Fed. R. Ev. 704(b). If the jury had to make a
       finding of fact on whether the defendant was a sexual sadist or psychopath, this would
       certainly be an issue that the expert could not speak to in his report or testimony.
       However, because these findings by the expert only assist the jury in understanding the
       evidence and determining a fact in the case as outlined below, it is permissible under the
       Federal Rules of Evidence.

       The government states that the jury will be assisted by Dr. Dietz’s testimony: (1) as to the

“highly unusual sexual behavior” and the “necessary history and medical documentation of

sexual sadism”, (2) as to why victims who have been groomed over a period of time lack the

mental ability to run away and seek help (which is based on the defendants’ statements that they

intend to argue that the victim was not coerced because she failed to run away or seek help), and

(3) on what conduct is appropriately accepted within the rules and regulations of the BDSM

lifestyle and what conduct “clearly exceeds the boundaries of this subculture” (which is based on

the defendants’ statements that they intend to argue that their conduct is simply a part of the

BDSM lifestyle).

       The last justification for Dr. Dietz’s testimony by the government is as follows:

               Finally, Dr. Dietz will offer expert conclusions based on his education, training and
       experience, with reasonable medical certainty. (Dr. Dietz’s Report, p. 108-113). This
       section includes the paragraph that Defendant Bagley cites and the court inquires about in
       the order issued. However, Dr. Dietz’s conclusions that Defendant Bagley is a “sexual
       sadist” and that he can be “fairly characterized as a psychopath” do not offer an expert
       opinion or inference as to whether the defendant did or did not have the mental state or
       condition constituting an element of the crime charged. (Dietz’s Report, p. 108). Indeed, as
       Dr. Dietz outlines in his report, many people who are properly characterized as sexual
       sadists . . . do not commit the acts the defendant is charged with in the indictment. Dr.
       Dietz’s diagnosis does not instruct the jury that the defendant is guilty of the criminal acts
       charged [or] an element in which they must make a finding of fact. Rather, it educates the
       jury that while new torture techniques and images of bondage and mutilation are not of
       value to them, or the average person, they are high value to someone who is a sexual
       sadist and has a sexual appetite for these behaviors.

       This is based on the government’s burden of proving that defendant received a “thing of

value” in order to establish that the sexual acts were commercial.

       To the average juror or individual, receiving new tips and techniques on how to torture
       someone or images which depict the acts, is not a “something of value.” But to someone

                                                 3


       Case 4:10-cr-00244-DGK          Document 256        Filed 12/27/11      Page 3 of 18
       who is a sexual sadist combined with being a psychopath, there could be no greater item
       of value. Whether an item received is a “thing of value” is a subjective standard based on
       proving that the person who received it would value it.

Finally, defendant’s reply (document number 238) includes the following:

              The government would like the court to believe that Dr. Dietz’[s] opinions as to the
       defendant’s psychiatric “diagnosis”, although obtained improperly, would assist the jury in
       understanding the evidence at trial. Defendant disagrees.

               While it is anticipated that the jury will not be well versed in BDSM behavior,
       characterizing the defendant as a criminal sexual sadist and psychopath will not
       contribute to the jury’s understanding. On the contrary, any probative value such
       characterization may carry is far outweighed by the “danger of unfair prejudice,
       confusion of issues or misleading the jury” and is therefore inadmissible pursuant to Fed.
       R. Evid. 403.

               Nor does it relate to whether or not defendant received “a thing of value” in
       exchange for sex acts with the complaining witness. Defendant denies the allegation that
       he did receive anything of value or force the complaining witness to engage in sex acts
       with others, but points out that expert testimony is not required to determine whether an
       individual places value on a specific item. The government’s suggestion that someone who
       is a sexual sadist combined with being a psychopath could consider tips and techniques on
       how to torture someone “something of value” is purely speculative, unhelpful and
       prejudicial. It does not assist the jury to offer the possibility that the Defendant might
       consider such things as having commercial value based solely on Dr. Dietz’[s] label of him
       as a sexual sadist and psychopath. Dr. Dietz’[s] opinions as set forth in his report are
       nothing more than prohibited Fed.R.Ediv. [sic] 404(a) character evidence with which the
       government attempts to prove that the defendant acted in conformity with the “diagnosis”
       rendered by Dr. Dietz.

              Furthermore, the government has failed, despite this court’s directive, to disclose
       what specific facts or data relating to the Defendant Dr. Dietz relied on in arriving at his
       “diagnosis.” Nor has it been described what principles or methods were utilized or how
       they were applied to arrive at said “diagnosis.” Dr. Dietz’[s] opinion of Defendant’s
       psychiatric condition is not based on direct evidence. It lacks foundation and relies
       primarily on hearsay. Therefore, it is of no assistance to the jury and should be determined
       inadmissible.

II.    THE PROBLEM

       As discussed above, defendant seeks CJA funding to hire a psychiatrist to review the expert

witness report that the government intends to rely on at trial. This would normally be a relatively

simple and routine matter to resolve, requiring an evaluation of the relevance of the defendant’s

request to the issues likely to be raised at trial and a review of the expert’s proposed fees for

reasonableness. However, here, the request is complicated because the government’s expert

                                                   4


        Case 4:10-cr-00244-DGK           Document 256        Filed 12/27/11      Page 4 of 18
witness report arguably raises a number of questions as to the eventual admissibility of the

witness’s testimony and conclusions under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

U.S. 579 (1993), its progeny, and the Federal Rules of Evidence. Although no motion in limine has

yet been filed challenging the anticipated testimony from the government’s expert, the parties

have nevertheless treated this request as an opportunity to raise and discuss issues under Daubert

and Rules 403, 702, 703, and 704.

       From my review of the expert report and the applicable law, I believe that there are

significant questions over the admissibility of some of the expert’s anticipated testimony, as to

both its substance and form. With the current February 13, 2012, trial setting, these issues need

to be addressed quickly before any intelligent decision can be made about defendant’s request for

CJA funding for an expert. To the extent the government’s expert witness report contains

potentially admissible evidence, defendant should be allowed to consult an expert to test and

potentially challenge the reliability of that testimony; to the extent the report contains

inadmissible evidence and opinions, defendant’s funding request should be denied.

III.   THE DIETZ REPORT

       The report in question was prepared by Park Dietz, M.D., M.P.H., Ph.D., and is 113 pages

in length. Dr. Dietz’s resume, a different document, is 75 pages, and recounts his considerable

credentials in the area of forensic psychiatry.

       For the purpose of this discussion, I am assuming that Dr. Dietz is qualified to testify on at

least some of the issues at trial. My focus here is not on his qualifications, but rather on some of

the material upon which the doctor relies and would potentially relate to the jury, some of his

conclusions and opinions, and the manner in which he intends to present the facts and his

opinions to the jury.

       Dr. Dietz’s report is divided into six sections:

       1.      The sources of the information the doctor relied upon in forming his opinions
               (Dietz Report, pages 1-9);

                                                   5


       Case 4:10-cr-00244-DGK           Document 256         Filed 12/27/11     Page 5 of 18
       2.      The offenses charged against the defendants in various indictments (Dietz Report,
               pages 9-10);

       3.      The medical understanding of the unusual sexual behaviors documented in the
               evidence (Dietz Report, pages 10-69);

       4.      How the defendants were able to treat the victim as they did for so long
               without her calling the police, seeking help, or escaping the situation (Dietz
               Report, pages 69-90);

       5.      The BDSM subculture (Dietz Report, pages 90-108); and

       6.      Dr. Dietz’s conclusions (Dietz Report, pages 108-13).

A.     THE UNDERLYING EVIDENCE FOR THE OPINIONS

       Dr. Dietz’s report sets forth the material he reviewed before arriving at his opinions,

including FBI 302 reports of interview (including those for defendants), computer images,

photographs, videotapes, grand jury testimony, the transcript of the detention hearing, the

indictment and the superceding indictment, letters (including those by defendants and their

lawyers), DSS reports, hospital records, a psychological evaluation, defendants’ criminal history

information, a plea agreement, and other materials -- some of which may be inadmissible at trial.

(Dietz Report, pages 1-9.) However, no effort was made to tie the specific exhibits or statements to

the doctor’s specific conclusions on the topics of sadism; seduction, grooming and control of the

female complainant; or the BDSM subculture.

       I acknowledge that an expert witness may rely on inadmissible material when formulating

an opinion when those facts are the type reasonably relied upon by experts in the field. Fed. R.

Evid. 703. When doing so, however, the trial judge should make the necessary inquiry about (1)

whether the material is reasonably relied upon by experts in the field and, if so, (2) whether the

inadmissible material is reliable and relevant. The inadmissible material should not be shown to

the jury unless the trial judge determines that it would assist the jury in evaluating the expert’s

testimony, and that it is more probative than unfairly prejudicial. Fed. R. Evid. 403.




                                                  6


       Case 4:10-cr-00244-DGK           Document 256        Filed 12/27/11      Page 6 of 18
       Here, there is no way to tell from the report what specific materials are being relied upon

to reach the doctor’s conclusions much less whether the information relied upon by Dr. Dietz is

the type routinely relied upon by experts in formulating opinions in this area of expertise. More

troubling, should any inadmissible evidence be imparted to the jury, is the question as to whether

the underlying information is more unfairly prejudicial than probative, or can any potential

prejudice be adequately neutralized by means of a cautionary instruction.

B.     MEDICAL UNDERSTANDING OF THE UNUSUAL SEXUAL BEHAVIORS DOCUMENTED IN
       THE EVIDENCE

       In this section of his report, Dr. Dietz responds to the prosecutor’s first question and sets

out literature describing sexual sadism, the ways in which sexual sadists cope with their persistent

desires, and the factors that make it more likely that a sexual sadist will indulge his desires to the

detriment of others. (Dietz Report, pages 10-15.) Thereafter, Dr. Dietz reviews for each defendant

“the available evidence that may shed light on the defendant’s willingness to indulge his desires at

the expense of others” (emphasis added). (Dietz Report, page 15.)

       After his review of the evidence on this question, Dr. Dietz gives his opinions in the

“conclusions” section of the report. Here are some examples of testimony that do not appear to

adhere to the requirements of admissibility:

       <       “Ed Bagley is a sexual sadist”.

       <       He has a “willingness to indulge his sexual appetite to the detriment of others”.

       <       “[H]e certainly demonstrates the pervasive pattern of disregard for a violation of
               the rights of others in adulthood characteristic of antisocial personality disorder”.

       <       Ed Bagley has demonstrated “repeated lying and conning others for personal profit
               or pleasure”.

       <       He has “hurt, mistreated, or stolen from another.”

       <       “Bagley may also be fairly characterized as a psychopath”.

(Dietz’s report, page 108).

       <       “Stokes is a sexual sadist.”

                                                   7


        Case 4:10-cr-00244-DGK          Document 256         Filed 12/27/11      Page 7 of 18
          <      “[H]e does not have a highly developed sense of morality and responsibility”.

          <      He “was willing to exploit [FV] despite his recognizing that she was under Bagley’s
                 control and unable to consent to sexual intercourse or torture”.

(Dietz’s report, page 109).

          <      “[E]ach of the defendants had knowledge of at least some [vulnerabilities] and had
                 reason to question her capacity to consent to sexual contact, much less torture.”

          <      “They took advantage of her”.

(Dietz’s report, page 110).

          <      “Bagley enticed [FV] into sexual slavery”.

          <      “Bagley’s transformation of [FV] into his subservient sex slave. . .”

          <      “[H]e misled her into believing” she was participating in a BDSM lifestyle.

(Dietz’s report, page 111).

          <      The defendants “allowed Bagley to control the scenes, despite their knowledge of
                 [FV]’s vulnerabilities, having good reason to doubt that she could competently
                 consent even in Bagley’s absence”.

          <      “Participants in the BDSM subculture who became familiar with Bagley’s abuse of
                 [FV] -- including Michael Yoshida, Jerry Dean Shaddy, Roy Woolstrum, Ken
                 Marcus, and Ira Levine -- were each concerned, disapproving, or appalled by
                 Bagley’s conduct toward [FV] and his violations of subcultural norms.”

          <      “The ultimate proof that the defendants’ activities with Bagley were not ‘safe, sane,
                 and consensual’ is . . . .”

          <      “... inflicted by Bagley’s torture.”

(Dietz’s report, page 112).

          <      “Bagley groomed, coerced, conned, and forced the victim . . . .”

          <      “[H]e further humiliated and sadistically abused her by causing her to engage in
                 other acts for which he sought and received economic and other benefits.”

          Federal Rule of Evidence 704 provides that in a criminal case, an expert witness must not

state an opinion about whether the defendant did or did not have a mental state or condition that

constitutes an element of the crime charged or of a defense. “Those matters are for the trier of fact

alone.”

                                                        8


          Case 4:10-cr-00244-DGK           Document 256       Filed 12/27/11      Page 8 of 18
       The quotations listed above make clear that Dr. Dietz’s testimony (presumably in line with

his report) includes conclusions as to the defendant’s knowledge, intent, credibility, and past bad

acts. It includes conclusions that the victim did not consent. It includes hearsay statements by co-

defendants regarding defendant’s conduct toward the victim (some of which may raise Bruton

concerns). It includes conclusions that the defendant received economic and other benefits for the

sex acts committed by the victim. These are all clearly questions for the jury -- questions that, by

their very nature, do not warrant or require the assistance of expert testimony.

       These are examples of instances, and there are many others, where the report raises

serious questions about whether portions of the doctor’s testimony are relevant to any issue in the

case under Rules 401, 402, and 403; whether portions of his testimony will be of assistance to the

jury under Rule 702 in determining any issue in the litigation; and whether some of his proposed

testimony crosses the line into inadmissible character evidence under Rule 404(a).

       Government counsel argues that these opinions are being offered to prove an issue in the

litigation other than mens rea.2 Specifically, the government counsel states:

               Finally, Dr. Dietz will offer expert conclusions based on his education,
       training and experience, with reasonable medical certainty. (Dr. Dietz’s Report, p.
       108-113). This section includes the paragraph that Defendant Bagley cites and the
       court inquires about in the order issued. However, Dr. Dietz’s conclusions that
       Defendant Bagley is a “sexual sadist” and that he can be “fairly characterized as a
       psychopath” do not offer an expert opinion or inference as to whether the
       defendant did or did not have the mental state or condition constituting an element
       of the crime charged. (Dietz’s Report, p. 108). Indeed, as Dr. Dietz outlines in his
       report, many people who are properly characterized as sexual sadists . . . do not

       2
        Usually, we encounter expert psychiatric or psychological testimony like this when a
defendant raises an issue of insanity or diminished mental responsibility. Rule 12.2 of the Federal
Rules of Criminal Procedure requires defense counsel to file a pretrial notice that the defendant
intends to introduce expert testimony on his or her mental condition. We have no such motion
here. Indeed, everyone agrees that Dr. Dietz’s testimony, as outlined above, is not being offered to
prove an issue dealing with a defendant’s mens rea. And yet, the doctor’s report is peppered in the
conclusions section with words and phrases such as “willfulness”; “reckless disregard”;
“defendants had knowledge of at least some of [female complainant’s vulnerabilities]”; “[t]hey
took advantage of her knowing that she was immature, mentally impaired, and a victim of prior
sexual abuse”; “despite their knowledge of [female complainant’s] vulnerabilities, having good
reason to doubt that she could competently consent.” (Dietz Report, pages 108-13).

                                                  9


       Case 4:10-cr-00244-DGK           Document 256        Filed 12/27/11      Page 9 of 18
       commit the acts the defendant is charged with in the indictment. Dr. Dietz’s
       diagnosis does not instruct the jury that the defendant is guilty of the criminal acts
       charged [or] an element in which they must make a finding of fact. Rather, it
       educates the jury that while new torture techniques and images of bondage and
       mutilation are not of value to them, or the average person, they are high value to
       someone who is a sexual sadist and has a sexual appetite for these behaviors.

       This argument is premised on the government’s burden to prove that defendant received a

“thing of value” to establish that the sexual acts were commercial.

       To the average juror or individual, receiving new tips and techniques on how to torture
       someone or images which depict the acts, is not a “something of value.” But to someone
       who is a sexual sadist combined with being a psychopath, there could be no greater item
       of value. Whether an item received is a “thing of value” is a subjective standard based on
       proving that the person who received it would value it.

       My review of Dr. Dietz credentials failed to turn up any education, training, or experience

to suggest that the doctor has any special expertise on a “thing of value.”

       Even assuming that Dr. Dietz could qualify as an expert on a “thing of value,” there seems

to be little need for such testimony in this case given the government’s available evidence. Here

are some examples of the underlying evidence recounted in the Dietz Report: “Marcus told Bagley

that he ‘could make some money’ selling photos to a magazine” (Dietz Report, page 18); “[female

complainant’s] income at the club came from dancing as well as from autographing photographs

and magazines in which she appeared” (Dietz Report, page 19); “[female complainant] earned

from $1200.00 - $2000.00 nightly” (Dietz Report, page 19); “Bagley was contacted by Ira Levine

and Matthew Brand, who represented Hustler magazine and wanted to write an article for

Hustler’s Taboo publication” (Dietz Report, page 22); Bagley and [female complainant] returned

to California to meet with representatives of the pornography industry because [female

complainant] wanted to pursue an opportunity to appear in pornographic movies” (Dietz Report,

page 22); “Bagley talked about how much money the ‘master’ in the videos was making and said

he wanted to earn that kind of money” (Dietz Report, page 25); “Henry would estimate that it

would cost at least $25,000 - $30,000 to buy that much [BDSM] equipment” (Dietz Report, page

35); Stokes acknowledged providing Bagley ‘gifts’ and once gave him $300.00 to construct a

                                                 10


       Case 4:10-cr-00244-DGK          Document 256        Filed 12/27/11     Page 10 of 18
‘fucking machine’” (Dietz Report, page 37); and “Bagley talked about making money online with

a website in which people would pay to watch [female complainant]” (Dietz Report, page 37).

       Given the direct evidence about the alleged conduct here involving a “thing of value,” it is

difficult to see how Dr. Dietz could offer any testimony that would “assist the trier of fact to

understand the evidence or to determine a fact in issue . . . .” Fed. R. Evid. 702.

C.     HOW THE DEFENDANTS WERE ABLE TO TREAT THE VICTIM AS THEY DID FOR SO
       LONG WITHOUT HER CALLING THE POLICE, SEEKING HELP, OR ESCAPING THE
       SITUATION

       In this section of the report, Dr. Dietz answers the government’s second question and

describes a number of conditions from and practices by which sex offenders typically select and

groom their victims to participate in the alleged illegal and violent conduct, and at the same time

prevent them from contacting the authorities or escaping the abuse. The doctor recounts the

factors identified by the National Center for Victims of Violent Crime and the Center for Family

Violence Prevention, and then compares these factors with the evidence here. (Dietz Report, pages

70-90.)

       This section also raises questions about the admissibility of at least some of the doctor’s

testimony. For example, in the section entitled “Victim Vulnerability,” the doctor states that

“[Female complainant’s] vulnerabilities were well known to Bagley before he even invited her into

his household” and that “Marilyn Bagley, too, knew of her vulnerability . . . .” (Dietz Report, page

71.)

       In the opinions section of the report, Dr. Dietz discusses “Bagley’s success at preventing

[female complainant] from contacting authorities or leaving him,” recounts the victim’s

vulnerabilities, and then states:

       [Female complainant’s] many vulnerabilities were so apparent that each of the
       defendants had knowledge of at least some of them and had reason to question her
       capacity to consent to sexual contact, much less torture. They took advantage of her
       knowing that she was immature, mentally impaired, and a victim of prior sexual
       abuse (including Bagley’s abuse of her).


                                                  11


       Case 4:10-cr-00244-DGK           Document 256        Filed 12/27/11      Page 11 of 18
(Dietz Report, pages 110.)

       The courts have held that expert testimony is admissible on issues such as the selection,

grooming, and control of victims of violence. United States v. Batton, 602 F.3d 1191, 1200-1202

(10th Cir. 2010), includes an informative discussion:

       The district court concluded it would allow Dr. Heineke to testify, but only about the
       characteristics of sex offenders and their victims to dispel any of the jurors’ mis-
       conceptions that the only people who commit sexual offenses are strangers, not trusted
       family members or friends. The trial court emphasized that Dr. Heineke was not to offer
       any opinions about how his testimony might relate to the facts of Batton’s case, nor was he
       to offer any opinions about the credibility of witnesses.

       Batton argues that even with those limitations in place, Dr. Heineke’s testimony was
       nothing more than improper “profile” evidence. Batton contends the testimony did
       nothing but frame the way the jury saw the evidence that followed and how it perceived
       Batton.

       We disagree. We have previously allowed testimony regarding criminal methods that are
       beyond the common knowledge of lay jurors. “Expert testimony is properly admitted if the
       subject matter is closely related to a particular profession, business or science and is not
       within the common knowledge of the average layperson.” United States v. Kunzman, 54
       F.3d 1522, 1530 (10th Cir. 1995). See United States v. McDonald, 933 F.2d 1519, 1522
       (10th Cir. 1991) (allowing an expert to testify regarding the specific practices of the drug
       trade, about which lay jurors might have misconceptions). Our reasoning for this is rooted
       in Federal Rule of Evidence 702: If scientific, technical, or other specialized knowledge
       will assist the trier of fact to understand the evidence or to determine a fact in issue, a
       witness qualified as an expert by knowledge, skill, experience, training or education may
       testify thereto in the form on an opinion or otherwise.

       Thus, we have declined in the past to classify “evidence into categories of profile or non-
       profile.” Rather, we have focused our inquiry on whether the “specialized knowledge . . .
       will assist the trier of fact in understanding the evidence.”

       Dr. Heineke testified that sex offenders are generally not strangers to their victims and
       their families but are more often than not close family members, friends, or well-respected
       individuals in a community who often use their positions to groom their victims into
       trusting them. He also informed the trial court that many lay persons carry a common
       misconception that sex offenders are only strangers or fit some misconceived criminal
       caricature. This specialized information may very well be beyond the knowledge of many
       jurors. See Robin Fretwell Wilson, Undeserved Trust: Reflections on the ALI’s Treatment of
       De Facto Parents, in Reconceiving the Family: Critique of the American Law Institute’s
       Principles of the Law of Family Dissolution, 90, 117–118 (Robin Fretwell Wilson, ed.,
       2006) (showing that many of the behaviors legal doctrines equate with good parenting are
       the same behaviors used by child molesters to groom their victims, including reading to
       children and bathing, dressing, disciplining, and showering children with attention and
       gifts); Jon R. Conte, The Nature of Sexual Offenses Against Children, in Clinical


                                                12


      Case 4:10-cr-00244-DGK          Document 256        Filed 12/27/11     Page 12 of 18
       Approaches to Sex Offenders and Their Victims (Clive R. Hollin & Kevin Howells eds.,
       1991) (explaining many of the techniques sex offenders use to groom their victims).

       Other circuits have reached a similar conclusion. For example, in United States v. Romero,
       189 F.3d 576 (7th Cir. 1999), the Seventh Circuit held that contemporary expert
       testimony regarding the modus operandi of child molesters was admissible. Id. at 585–87.
       In Romero, the defendant was charged with kidnaping and transporting a minor with the
       intent to engage in criminal sexual activity. The trial court allowed expert testimony
       regarding the practices of child sex abusers to dispel “from the jurors’ minds the widely
       held stereotype of a child molester as a ‘dirty old man in a wrinkled raincoat’ who
       snatches children off the street.” Id. at 584. The Seventh Circuit approved the trial court’s
       decision, noting that the expert testimony showed the sex abusers’ grooming techniques.
       Id. at 585. Most notably, the testimony “illuminated how seemingly innocent conduct such
       as [the defendant’s] extensive discussions . . . [with his victim] . . . could be part of a
       seduction technique.” Id.

       Similarly, the Fifth Circuit in United States v. Hitt, 473 F.3d 146 (5th Cir. 2006), held that
       the admission of expert testimony regarding the modus operandi of child molesters,
       including grooming, was not an abuse of discretion. Id. at 158. As in other cases we have
       discussed, in Hitt, the defendants were charged with transporting a minor across state
       lines for the purpose of engaging in illicit sexual activity. Id. at 150. The defendants
       argued that such expert testimony was inappropriate character evidence and should not
       have been admitted. Id. at 158. The Fifth Circuit rejected that argument, noting that
       several other circuits also allowed testimony regarding the grooming methods of sex
       offenders. Id. (citing United States v. Hayward, 359 F.3d 631, 636–37 (3d Cir. 2004)
       (holding that expert testimony regarding the grooming techniques of child molesters was
       admissible)). We do not find the trial court abused its discretion in concluding the jurors
       would benefit from learning of the modus operandi of sex offenders. The methods sex
       offenders use are not necessarily common knowledge. The trial court held a thorough
       Daubert hearing, where the parties discussed at length Dr. Heineke’s qualifications. The
       record supports the trial court’s determination that Dr. Heineke had sufficient expertise to
       discuss how sex offenders prepare their victims. Further, the trial court was careful to
       limit Dr. Heineke’s testimony to only the correction of possible juror misconceptions
       regarding how sex offenders behave and what they look like. With those limitations in
       place, the trial court was well within its discretion to allow Dr. Heineke’s testimony.

       Although Dr. Dietz’s anticipated testimony about the selection, grooming, and control of

victims of sexual violence may well be helpful to the jury in understanding the some of the issues

here, his testimony goes beyond this limited area and includes a comparison of those factors with

the underlying evidence here (which, in some circumstances and under specific conditions, may

also be admissible), and his opinions about what the defendants knew and what they willfully

participated in or allowed to continue. (Dietz Report, pages 111.)




                                                 13


      Case 4:10-cr-00244-DGK           Document 256        Filed 12/27/11     Page 13 of 18
D.     THE BDSM SUBCULTURE

       In this section of the report, Dr. Dietz answers the prosecutor’s third question and

describes the norms and safety rules for BDSM activities as drawn from websites, manuals, and

persons who have participated in the BDSM subculture and are familiar with defendant Bagley’s

treatment of the female complainant. (Dietz Report, page 90.) For example, the doctor relies on

several sources (e.g., STL3 website; the National Coalition for Sexual Freedom; Learning the Ropes:

A Basic Guide to Safe and Fun S/M Lovemaking) to arrive at “the universal code of the BSDM

subculture.” (Dietz Report, pages 90-97.) The doctor then takes the “universal code” and applies

it to the evidence here, some of which may raise the same evidentiary questions discussed in the

earlier portions of this report and recommendation.

       The conclusions section also raises questions about the admissibility of some of Dr. Dietz’s

opinions. For example, one of his conclusions states:

       Participants in the BDSM subculture who became familiar with Bagley’s abuse of
       [female complainant] - including Michael Yoshida, Jerry Dean Shaddy, Roy
       Wollstrum, Ken Marcus, and Ira Levine - were each concerned, disapproving, or
       appalled by Bagley’s conduct toward [female complainant] and his violations of
       subculture norms.

(Dietz Report, page 112.) Assuming these people are called to testify in accordance with this

assertion, thereby alleviating the obvious hearsay problem, there remains a question as to whether

this testimony is truly helpful to the jury, or merely objectionable argument best left for

government counsel to make during summation.

       The conclusions section on BDSM also includes statements that may raise concerns about

invading the province of the jury. For example, Dr. Dietz opines that “Bagley’s transformation of

[female complainant] into his subservient sex slave included indoctrination into what he misled

her into believing was ‘the BDSM lifestyle’ and replacing her identity with the identity of ‘Slave

[Name]’.” (Dietz Report, page 111.)




                                                 14


       Case 4:10-cr-00244-DGK          Document 256        Filed 12/27/11      Page 14 of 18
        The government argues that Dr. Dietz’s testimony will be helpful to the jury in

understanding the evidence of BDSM including what conduct is appropriately accepted within

the rules and regulations of the BDSM lifestyle and what conduct “clearly exceeds the boundaries

of this subculture.” The government states that this testimony by Dr. Dietz is based on the

defendants’ statements that they intend to argue that their conduct was simply a part of the BDSM

lifestyle.

        In United States v. Marcus, 628 F.3d 36, 45 (2nd Cir. 2010), Marcus was charged with

sex trafficking and forced labor. Because the sex trafficking conduct predated the effective date of

the criminal statutes under which Marcus was charged, only the forced labor count could result

in a conviction. Marcus had engaged in a BDSM relationship with the victim whom he then

forced to maintain a BDSM website he operated for profit. At some point, the consensual nature of

their relationship changed and Marcus began inflicting unwanted punishment on the victim,

recording it, and putting it on his website. He forced her to write fantasy diary entries for the

website indicating that she enjoyed the torture that was depicted in the recordings. The trial court

gave the following instruction to the jury:

        Throughout the trial, you have heard evidence about sexual practices called Bondage,
        Discipline/Domination, Submission/Sadism, Masochism, or “BDSM,” that may involve
        actual physical restraint, such as being tied up or placed in a cage. The mere fact that a
        person was physically restrained during the course of such acts does not necessarily mean
        that the statute was violated. For example, if the physical restraint was consensual, then it
        would not constitute a violation of the statute.

        It is for you to decide, based on a careful consideration of all the facts and surrounding
        circumstances, whether the acts of physical restraint violated the statute.

Id. at 45 n. 11.

        In challenging this instruction, Marcus argued that the “labor or services” phrase in the

forced labor statute did not include work on the website for which Marcus derived pecuniary

gain. He compared it to domestic chores performed by any co-habitating couple, including one

who might have an abusive partner. Instead, he argued, the forced labor statute was intended to


                                                  15


        Case 4:10-cr-00244-DGK         Document 256        Filed 12/27/11      Page 15 of 18
proscribe international trafficking in slave labor and prostitution. He also argued that the

“punishments” he inflicted on the victim “are inseparable from the BDSM activities that were a

long standing part of their intimate relationship.”

        The court disagreed:

        The jury was properly instructed that consensual BDSM activities alone could not
        constitute the basis for a conviction under the sex trafficking charge, and there is no
        reason to believe that the jury did not understand this instruction to be equally true with
        respect to the forced labor charge. The jury rejected Marcus’s view of the affair, namely,
        that Jodi’s work on the website and punishments relating thereto were all part of her long-
        time intimate relationship with Marcus and their broad participation in BDSM. Moreover,
        the evidence fully supports the Government’s theory that, over time, the violence Marcus
        inflicted upon Jodi became nonconsensual, the punishments became more severe, and that
        Jodi would not have performed services for Marcus’s website had she not feared that
        noncompliance would result in future physical and sexual abuse. The fact that Jodi’s
        enslavement arose from her initial participation in consensual BDSM activities does not
        require a contrary conclusion.

Id. at 45.

        Although Dr. Dietz’s anticipated testimony about BDSM may well be helpful to the jury in

understanding the some of the issues here, his testimony goes well beyond a description of this

subculture and includes a comparison of BDSM rules with the underlying evidence here (which,

in some circumstances and under specific conditions, may be admissible), and his opinions about

what the defendants knew and what they willfully participated in or allowed to continue. (Dietz

Report, pages 111.)

IV.     CONCLUSION

        Because it is clear that the court will need to address a number of important issues about

the admissibility of testimony from Dr. Dietz, it is

        RECOMMENDED that the government be ordered to promptly marshal the information in

the Dietz Report in a detailed written form so that the court and the remaining defendants for trial

know: (1) the issue to which each opinion is addressed; (2) the doctor’s specific opinion to be

given at trial; (3) the doctor’s specific credentials qualifying him to render such an opinion; (4)

the admissible facts upon which the doctor’s opinion is based; (5) if any of the underlying facts

                                                  16


       Case 4:10-cr-00244-DGK           Document 256       Filed 12/27/11      Page 16 of 18
for the doctor’s opinion are inadmissible, how they are the type reasonably relied upon by experts

in the field; (6) how the doctor’s proposed opinion will assist the jury in resolving the issue in

dispute; and (7) any cautionary or limiting instructions that government suggests that the court

give to deal with potentially prejudicial testimony.3 It is further

        RECOMMENDED that, after the government files its written report in the approved form,

the court direct that the government and remaining defendants for trial promptly file any motions

in limine or supplementary materials dealing with the admissibility of Dr. Dietz’s testimony as set

forth in the new format4. It is further

        RECOMMENDED that the court take under advisement defendant’s request for funding for

a psychiatrist to review Dr. Dietz’s report. Once the court issues rulings on the admissibility of the

evidence the government intends to offer through Dr. Dietz, it will be in a position to determine

whether approval for defendant’s requested funding should be sought from the Court of Appeals.

It is further

        RECOMMENDED that, because there is a short window of time between now and the

February 13, 2012, trial setting, the court shorten the number of days within which the parties


        3
        The structure of the current Dietz Report simply does not allow the court to make the type
of informed analysis that is required by Daubert and the evidentiary rules. Similarly, an
evidentiary hearing with Dr. Dietz present would not necessarily result in any improvement in
the government’s organization of this material, and could generate more questions than answers.
        4
         Counsel for the government is advised to cite cases for their holding only unless a
reference to dicta is being made, and in that case the citation should include the “dicta” notation.
Citing a case which neither rules nor mentions the legal precedent discussed is inappropriate. See
p. 11 of the government’s response (document number 230) where the government cites to
United States v. Barkau, 643 F.3d 1060 (8th Cir. 2011) and United States v. Elbert, 561 F.3d 771
(8th Cir. 2009) to support the legal argument that, “Even in our own district, defendants have
previously been convicted when the item of value received was something of value other than
cash.” There is no mention of the items cited by the government as having been received by the
defendants in those cases. In fact, the Elbert case does not even mention the co-defendant whom
the government claims received a “thing of value” in that case. AUSA Cynthia Cordes was
involved in both of those cases, and I assume the government’s brief in this case was based on her
knowledge of the facts of those other cases. However, the Court of Appeals made no such holding
and in fact did not even address the legal principal for which those cases are cited.

                                                  17


       Case 4:10-cr-00244-DGK             Document 256      Filed 12/27/11     Page 17 of 18
have to object to this Report and Recommendation, and enter a scheduling order setting forth

deadlines for the government to file its revised report on Dr. Dietz’s testimony, and for the parties

to file in limine motions and supplementary material dealing with Dr. Dietz’s testimony.




                                             ROBERT E. LARSEN
                                             United States Magistrate Judge

Kansas City, Missouri
December 27, 2011




                                                 18


       Case 4:10-cr-00244-DGK          Document 256        Filed 12/27/11     Page 18 of 18
